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                           UNITED STATES DISTRICT COURT

                                  DISTRICT OF MAINE


SIERRA CLUB, NATURAL                       )
RESOURCES COUNCIL OF MAINE,                )
and APPALACHIAN MOUNTAIN                   )
CLUB,                                      )
                                           )
              Plaintiffs                   )
                                           )
       v.                                  )             No. 2:20-cv-00396-LEW
                                           )
UNITED STATES ARMY CORPS                   )
OF ENGINEERS, et al.,                      )
                                           )
              Defendants                   )


                                          ORDER

       The matter is before the Court on Plaintiffs’ Complaint and Motion for Preliminary

Injunction requesting that the Court, inter alia, enjoin Central Maine Power Company’s

commencement of construction on the so-called CMP Corridor. Plaintiff’s Motion for

Preliminary Injunction is RESERVED pending briefing and hearing.

       The matter also arises on Central Maine Power Company’s (CMP’s) Motion to

Intervene (ECF No. 11) and the Joint Motion by Plaintiffs and Defendants to expedite the

briefing schedule and increase page limits (ECF No. 17).

       CMP’s Motion to Intervene (ECF No. 11) is GRANTED. Intervenor CMP opposes

Plaintiff’s request for an expedited briefing cycle. At the same time, Intervenor CMP states

it is unwilling to delay construction activity beyond December 4, 2020. Intervenor CMP’s

position that Plaintiffs have unreasonably timed this action is neither persuasive nor helpful
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given that the Corps only recently revised (i.e., deleted) a special condition in its permit

that was holding up construction. Moreover, there is no apparent reason why Intervenor

CMP cannot meet an expedited briefing schedule that is compelled by its own refusal to

delay construction. Accordingly, the Joint Motion for expedited briefing and an extension

of page limits (ECF No. 17) is GRANTED in substance. The briefing schedule is as

follows:

       Defendants’ and Intervenor’s response deadline is November 25, 2020. Defendants

are permitted to submit one brief of up to 35 pages. Intervenor is permitted to submit one

brief of up to 21 pages.

       Plaintiffs’ Reply deadline is December 2, 2020. Plaintiffs may submit one reply

brief of up to 14 pages.

       The Court will conduct a hearing, by video conference, on December 2, 2020. The

Parties will submit witness and exhibit lists by November 27, 2020.

       The answer deadline is 21 days from the date of this Order.

       SO ORDERED.

       Dated this 13th day of November, 2020

                                           /s/ Lance E. Walker
                                          UNITED STATES DISTRICT JUDGE




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